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Page 2
MOTION UNDER 28 U.S.C. § 2255 TO VACATE, SET ASIDE, OR CORRECT
SENTENCE BY A PERSON IN FEDERAL CUSTODY mee
US g COURT
United States District-Court woes — e @ .
District SoukR N Distruct of GeoRGiA
. - ra
Name (under which you were convicted): Docket or Case No. - poe 0

 

c MAK Zo ~ CR- 0002]

Place of Confinement: Prisoner No.: a 4. AL

€ MOL NAS oBlol 7Z8o2-olF

UNITED STATES OF AMERICA Movant (Ginglude name under which you were convicted)

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MOTION Cy422 21 6

1. (a) Name and location of court that entered the judgment of conviction you are challenging:

i2‘| BARNARD ST, SANANNOR, GA 31401

(b) Criminal docket or case number (if you know): ZO - CR- O00 tI
2. (a) Date of the judgment of conviction (if you know): L| -@l\- Zot

(b) Date of sentencing: q -\U- Zoed| ‘
3. Length of sentence: (CLIO MONTHS FSMPASAAMENT ZYeaKs UPERNISON

4. Nature of crime (all: counts): ONE Count CONSPIRAC Xo Comet Mone,
Lande Ing \

#

5. (a) What was your plea? (Check one)
(1) Not guilty Q (2) Guilty a (3) Nolo contendere (no contest) O
(b) If you entered a guilty plea to one count or indictment, and a not guilty plea to another count

or indictment, what did you plead guilty to and what did you plead not guilty to? &6 Unit ONE

Consfiracy +e Commit MONE | Lagndemna

6. If you went to trial, what kind of trial did you have? (Check one) Jury Q Judge only O

Al [A
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7. Did you testify at a pretrial hearing, trial, or post-trial hearing? Yes O No w/
8. Did you appeal from the judgment of conviction? Yes O No of
9. If you did appeal, answer the following:

(a) Name of court:

(b) Docket or case number (if you know): f)

(c) Result: N

(d) Date of result (if you know):

(e} Citation to the case (if you know):

(f) Grounds raised:

(g) Did you file a petition for certiorari in the United States Supreme Court? Yes O 0 Q
If “Yes,” answer the following:

(1) Docket or case number (if you know):

(2) Result: A

(3) Date of result (if you know):
(4) Citation to the case (if you know):

(5) Grounds raised:

10. Other than the direct appeals listed above, have you previously filed any other motions,
petitions, or applicgytions concerning this judgment of conviction in any court?
Yes O wd.
11. If your answer to Question 10 was “Yes,” give the following information:

(a) (1) Name of court:

(2) Docket or case number (if you know): N / A
(3) Date of filing (if you know):
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(4) Nature of the proceeding:

(5) Grounds raised:

N /H

(6) Did you receive a hearing where evidence was given on your motion, petition, or
application? Yes OQ No 0
(7) Result: A /f
(8) Date of result (if you know):

(b) If you filed any second motion, petition, or application, give the same information:
(1) Name of court:
(2) Docket or case number (if you know):

(3) Date of filing (if you know):

(4) Nature of the proceeding: / In
(5) Grounds raised: A

(6) Did you receive a Dearing we evidence was given on your motion, petition, or
application? Yes QO No
(7) Result:
(8) Date of result (if you know):
(c) Did you appeal to a federal appellate court having jurisdiction over the action taken on your
motion, petition, or application? d,
(1) First petition: Yes OQ No wf
(2) Second petition: Yes Q No
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(d) If you did not appeal from the action on any motion, petition, or application, explain briefly

why you did aot: ADNISED Bey PA AASRNEY T Had No ACPEA|
Rants Because T Pea Gui)

12. For this motion, state every ground on which you claim that you are being held in violation of the
Constitution, laws, or treaties of the United States. Attach additional pages if you have more

than four grounds. State the facts supporting each ground.

 

GROUND ONE: DLFENDANT ORS Denied hm) SHY AMEWPMENT RiqnT YS
AN ATIERN<\

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

DEFENDANTS TRIAL ATTORNEY Failed To INuestignte Any DECEnsé
OR ENipence, CONCERNING VRE GAERMMEST's Lack of ANT) Ming,

of W forma] ‘comleiniT om THeRe Lacte of ror mah) Soi Ng
AN) ASSoCintED CASES OR DEFENDANTS Concerning THis
DefeNDANI s Conls¢iRKcy Al\EGa Tons

(b) Direct Appeal of Ground One:
(1) If you appealed from the judgment of conviction, did you raise this issue?
Yes O No ft
(2) If you did not raise this issue in your direct appeal, explain why: yeas RDNAS EO BY

Counse\ T cauid Not ARPER\

(c) Post-Conviction Proceedings:
(1) Did you raise this issue in any post-conviction motion, petition, or application?
Yes QO No ey”
(2) If your answer to Question (c)(1) is “Yes,” state:

Type of motion or petition: NLA

Name and location of the court where the motion or petition was filed:

nl [A
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vlAa

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Docket or case number (if you know):
Date of the court’s decision: he [R.

Result (attach a copy of the court’s opinion or order, if available):

N/4

(3) Did you rece Joearing on your motion, petition, or application?

Yes QO No w/A

(4) Did you appeal from the denial of your motion, petition, or application?
Yes O No Wf Ml [hn

(5) lf your answer to Question (c}(4) is “Yes,” did you raise this issue in the appeal?

Yes Q No QO M /4
(6) If your answer to Question (c)(4) is “Yes,” state: Af [fe

Name and location of the court where the appeal was filed:

Docket or case number (if you know): ,4/ (44
Date of the court’s decision: MV/

Result (attach a copy of the court’s opinion or order, if available): A /

(7) If your answer to Question (c)(4) or Question (c)(S) is “No,” explain why you did not appeal or

raise this issue: ADNISE OD BY dounse] © han ilo Ayvrer] Kigvits
oR issue's

GROUND TWo: cNeffeevrweness of Counse| | For. TRI A | CouNnse |
Cailure Jo Prelect Defenivant'’s PRoceDuRAl Duc PRetess Piqgnr's

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

Defense Counse| , tile Te PRSPeRaVh) INVEShgQAte TE
GrnehnmenTts PRsceoOuRnl PROCESS UPNIZED WIE INvhAT]
THE CRiminal PRosecusisn) of tis case, And failev To

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(b) Direct Appeal of Ground Two:
(1) If you appealed from the judgment of conviction, did you raise this issue?
Yes O No
(2) If you did not raise this issue in your direct appeal, explain why:
ADUSZ BY Couwse \, D2KEwPawyT Gouin Nol agreal
(c) Post-Conviction Proceedings:
(1) Did you raise this issue in any post-conviction motion, petition, or application?
Yes OQ No n/
(2) If your answer to Question (c)(1) is “Yes,” state: Mw /a
Type of motion or petition: AL /A
Name and location of the court where the motion or petition was filed: MN lg
Docket or case number (if you know): / /A
Date of the court’s decision: A//A
Result (attach a copy of the court’s opinion or order, if available): AL /4
(3) Did you receive a hearing on your motion, petition, or application? al (42
Yes O No n/
(4) Did you appeal from the denial of your motion, petition, or application? A Cl 71
Yes Now
(5) If your answer to Question (c)(4) is “Yes,” did you raise this issue in the appeal? AL /
Yes O No b/
(6) If your answer to Question (c)(4) is “Yes,” state: At / 4

Name and location of the court where the appeal was filed: N/é}

Docket or case number (if you know): M/A
Date of the court’s decision: N/A
Result (attach a copy of the court’s opinion or order, if available): A// A

| fee

at
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(7) If your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or

raise this issue: ADVIS & BY Couvwse \

GROUND THREE: TNERe CTI Assistance oF Counse| | Failure
OF Counse| To MAT +O QuAst THe TNFORMATION

{a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):
TRIQ| Counsel Fatlen Te PRESENT To THE CouRT Fact 5
Thar TRAE CRiwinal ANfrmation Failed again TS

Defendant Taven 1 \o Cons tiiatre AN offense UNDE RB. TAT

Consfinncy SHANE ON THE GReaWdD Ss VT Doss NT GonTan
THE TIEMENT oF Tus ORMORE POPS WiKar \\\ CONSPite 9

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Ff AMERICA

(b) Direct Appeal of Ground Three:
(1) If you appealed from the judgment of conviction, did you raise this issue?
Yes Q No
(2) If you did not raise this issue in your direct appeal, explain why: AADNISE YD \3\|

Couwse| Defew dan + Couin Nest APPEAR)

(c) Post-Conviction Proceedings:
(1) Did you raise this issue in any post-conviction motion, petition, or application?
Yes GQ No
(2) If your answer to Question (c)(1) is “Yes,” state: K/ {7

Type of motion or petition: Af [KA
Name and location of the court where the motion or petition was filed: WA / A

Docket or case number (if you know): AL / A
Date of the court’s decision: AL [to
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Result (attach a copy of the court’s opinion or order, if available): Al /f
(3) Did you ce pons on your motion, petition, or application?
Yes OQ No
(4) Did you ee, the denial of your motion, petition, or application?
Yes Q No
(5) If your enemas 7 Peston (c)(4) is “Yes,” did you raise this issue in the appeal? kl (44
Yes O No

(6) If your answer to Question (c)(4) is “Yes,” state: NL /4
Name and location of the court where the appeal was filed: N /

Docket or case number (if you know): NM JA
Date of the court’s decision: AMT A
Result (attach a copy of the court’s opinion or order, if available): N/a

(7) If your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or

raise this issue: /A/ /4

GROUND FouR: INE ffecTiuc ASSISTANCE Of Counsel, Failure
Of Counsel Te UPHOID D<efenoRNTs APPeal Pionis

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

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Migvit WANE Been PRESENTED TIN lation oF Defenomwrs
rFtn Amewdment Riqut to Due- Process of Law
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(b) Direct Appeal of Ground Four:
(1) If you appealed from the judgment of conviction, did you raise this issue?

Yes O No
a
(2) If you did not raise this issue in your direct appeal, explain why: Din’ N6T AePen j

(c) Post-Conviction Proceedings:
(1) Did you raise this issue in any post-conviction motion, petition, or application?
Yes Q No
(2) If your answer to Question (c)(1) is “Yes,” state: NIA
Type of motion or petition: A/ (FE

Name and location of the court where the motion or petition was filed: Af (4A

Docket or case number (if you know): AL 1A
Date of the court’s decision: A744
Result (attach a copy of the court’s opinion or order, if available): A/ /k-

(3} Did you receive a hearing on your motion, petition, or application?
Yes OQ No /

(4) Did you appeal from the denial of your motion, petition, or application?
Yes O No b/

(5) If your answer to Question (c)(4) is “Yes,” did you raise this issue in the appeal?
Yes GQ No

(6) If your answer to Question (c)(4) is “Yes,” state:

Name and location of the court where the appeal was filed: VL AF

Docket or case number (if you know): MLK
Date of the court’s decision: Af / 4
Result (attach a copy of the court’s opinion or order, if available): V/A
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15.

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(7) If your answer to Question (c)(4) or Question (c)(S) is “No,” explain why you did not appeal or

ise this issue: isz2vV 1 =
raise this issue Adu | Couwse | , LT had Ne Went
Ys apPea\ oR No Wolate Issues

Is there any ground in this motion that you have not previously presented in some federal court?

If so, which ground or grounds have not been presented, and state your reasons for not

presenting them: Al /A

Do you have any motion, petition, or appeal now pending (filed and not decided yet) in any court
for the judgment you are challenging? Yes O Now”

If “Yes,” state the name and location of the court, the docket or case number, the type of

proceeding, and the issues raised. K/h

Give the name and address, if known, of each attorney who represented you in the following
stages of the judgment you are challenging:

(a) At preliminary hearing:

(b) At arraignment and plea: justi G DaAvio's 22 BARNHRO St savanla GA 31Y¥0]
STENSN f. BERNE 144\ DUNLxoY WiI/ACE faciwony AtlawtA, GA 30236

(c) At trial:

(d) At sentencing: § 74VON 1. Fey Z| Lee STeeeT Jones vero, GAQ
30236
16.

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(e) On appeal: AL [ft

(f) In any post-conviction proceeding: S'AY7 a

(g) On appeal from any ruling against you in a post-conviction proceeding: SAWIC

Were you sentenced on more than one count of an indictmght, or on more than one indictment, in
the same court and at the same time? Yes ONo

Do you have any future sentence to serve after you complete the sentence for the judgment that
you are challenging? Yes OQ No o/

(a) If so, give name and location of court that imposed the other sentence you will serve in the

future: Af [A

(b) Give the date the other sentence was imposed: N (A
(c) Give the length of the other sentence: N |.
(d) Have you filed, or do you plan to file, any motion, PY. or application that challenges the

judgment or sentence to be served in the future? Yes No Q
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18. TIMELINESS OF MOTION: If your judgment of conviction became final over one year ago, you

must explain why the one-year statute of limitations as contained in 28 U.S.C. § 2255 does not

bar your motion.* THis hyo tjors 38 sent out Tevdel

 

“ The Antiterrorism and Effective Death Penalty Act of 1996 (“AEDPA”) as contained in 28 U.S.C.
§ 2255, paragraph 6, provides in part that:
A one-year period of limitation shall apply to a motion under this section. The limitation period
shall run from the latest of —
(1) the date on which the judgment of conviction became final;
(2) the date on which the impediment to making a motion created by governmental action in
violation of the Constitution or laws of the United States is removed, if the movant was
prevented from making such a motion by such governmental action;
(3) the date on which the right asserted was initially recognized by the Supreme Court, if
that right has been newly recognized by the Supreme Court and made retroactively
applicable to cases on collateral review; or
(4) the date on which the facts supporting the claim or claims presented could have been
discovered through the exercise of due diligence.
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Therefore, movant asks that the Court grant the following relief: WACA+ ¢_ TR ZT Stwitencreu awp
JUNQMENT WTA EINTREST OF Justice

or any other relief to which movant may be entitled.

 

Signature of Attorney (if any

I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct
and that this Motion under 28 U.S.C. § 2255 was placed in the prison mailing system on

(month, date, year).

Executed (signed) on = 3 * L2t. (date).

    

Signature of Movant

If the person signing is not movant, state relationship to movant and explain why movant is not

signing this motion.
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